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UNITED STATES DISTRICT COURT HEIN ong
FOR THE NORTHERN DISTRICT OF TEXAS...

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Plaintiit ye 77's 0uUC Ee Kolo jn LE ” CV- 1293P
VWwesTery ogress 1Ve@ Find COG Action No.

Zid Mat Koen Wusl 2005-ARLS

Defendant

CERTIFICATE OF INTERESTED PERSONS
(This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(¢), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,
Derdian Fstare Corpovalion

Charles, Smit
Saskia Smif

provides the following information:

publicly held corporation that owns 10% or more of its stock (if none, state None"):
*Please separate names with a comma. Only text visible within box will print.

A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:

*Please separate names with a comma. Only text visible within box will print.
Case 4:21-cv-01293-P Document 2 Filed 11/23/21 Page2of2 PagelD8

Date:
Signature:

Print Name:

Bar Number: ¥t0 fo fo
Address: 92 5 Maen MOS. DHUC. SF25-$0

City, State, Zip: dete etangt fz Tk WwOSEC

Telephone:

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E-Mail: 44M) / ya fut SLA Bong

NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other

Documents/Certificate of Interested Persons
